                  Case 8-18-71717-ast              Doc 7       Filed 03/18/18         Entered 03/19/18 00:16:56

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-71717-ast
Cherryl M. Spencer                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-8                  User: dcorsini                     Page 1 of 1                          Date Rcvd: Mar 16, 2018
                                      Form ID: 309A                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 18, 2018.
db             +Cherryl M. Spencer,    186 Lincoln Avenue,   Deer Park, NY 11729-7018
smg             NYC Department of Finance,    345 Adams Street,   Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,    Attn: Isolvency Unit,   Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9223771         Bank of America,    PO Box 26249,   Tampa, FL 33623-6249
9223773         Capital One, N.A.,    PO Box 71087,   Charlotte, NC 28272-1087

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: csmith@maccosternlaw.com Mar 16 2018 18:29:21       Michael J Macco,
                 Macco & Stern LLP,    2950 Express Drive South,   Suite 109,    Islandia, NY 11749
tr             +EDI: BAMTHALER Mar 16 2018 22:28:00      Andrew M Thaler,    Thaler Law Firm PLLC,
                 675 Old Country Road,    Westbury, NY 11590-4503
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 16 2018 18:29:51
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.li.ecf@usdoj.gov Mar 16 2018 18:29:32       United States Trustee,
                 Office of the United States Trustee,    Long Island Federal Courthouse,    560 Federal Plaza,
                 Central Islip, NY 11722-4456
9223769         EDI: AMEREXPR.COM Mar 16 2018 22:28:00      American Express,    PO Box 1270,
                 Newark, NJ 07101-1270
9223772         EDI: BANKAMER.COM Mar 16 2018 22:28:00      Bank of America,    PO Box 15019,
                 Wilmington, DE 19886-5019
9223770         EDI: BANKAMER.COM Mar 16 2018 22:28:00      Bank of America,    PO Box 31785,
                 Tampa, FL 33631-3785
9223774         EDI: RMSC.COM Mar 16 2018 22:28:00      CareCredit/Synchrony Bank,    PO Box 960061,
                 Orlando, FL 32896-0061
9223775         E-mail/Text: bankruptcydept@wyn.com Mar 16 2018 18:29:41       Wyndham Rewards,    Card Services,
                 PO Box 13337,   Philadelphia, PA 19101-3337
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 18, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 16, 2018 at the address(es) listed below:
              Andrew M Thaler   athaler@athalerlaw.com,
               athaler@ecf.epiqsystems.com;dawn@athalerlaw.com;N269@ecfcbis.com;spiros@athalerlaw.com
              Michael J Macco   on behalf of Debtor Cherryl M. Spencer csmith@maccosternlaw.com
              United States Trustee   USTPRegion02.LI.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Cherryl M. Spencer                                                        Social Security number or ITIN         xxx−xx−5803
                      First Name   Middle Name   Last Name                                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of New York
                                                                                                Date case filed for chapter 7 3/16/18
Case number:          8−18−71717−ast


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                     Revised: 12/17


For the debtor(s) listed above, a case has been filed under Chapter 7 of the Bankruptcy Code. An order for relief has been entered. This notice
has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors and
deadlines. Read both pages carefully.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.

                              About Debtor 1:                                                     About Debtor 2:
1.Debtor's Full Name          Cherryl M. Spencer
2.All other names used in the
  last 8 years
3.Address                     186 Lincoln Avenue
                                       Deer Park, NY 11729
4.Debtor's Attorney                    Michael J Macco                                            Contact Phone 631−549−7900
                                       Macco & Stern LLP                                          Email: csmith@maccosternlaw.com
  Name and address                     2950 Express Drive South
                                       Suite 109
                                       Islandia, NY 11749
5.Bankruptcy Trustee                   Andrew M Thaler                                            Contact Phone (516) 279−6700
                                       Thaler Law Firm PLLC                                       Email: athaler@athalerlaw.com
  Name and address                     675 Old Country Road
                                       Westbury, NY 11590
6.Meeting of Creditors                 April 24, 2018 at 09:00 AM                                 Location:
                                                                                                  Office of the United States Trustee, Long
                                                                                                  Island Federal Courthouse, 560 Federal
                                                                                                  Plaza − Room 561, Central Islip, NY
                                                                                                  11722−4437
7.Deadlines                            Deadline to Object to Discharge or to Challenge            Filing Deadline:   6/25/18
                                       Whether Certain Debts are Dischargeable:
  The Bankruptcy Clerk's Office must You must file a Complaint:
  receive these documents and any      • if you assert that the debtor is not entitled to         You must file a Motion:
  required filing fee by the following   receive a discharge of any debts under any of the        • if you assert that the discharge should be
  deadlines.                             subdivisions of 11 U.S.C. § 727(a)(2) through (7),         denied under § 727(a)(8) or (9).
                                         or
                                       • if you want to have a debt excepted from discharge
                                         under 11 U.S.C § 523(a)(2), (4), or (6).

                                       Deadline to Object to Exemptions:                          Filing Deadline: 30 days after the conclusion
                                       The law permits debtors to keep certain property as        of the meeting of creditors
                                       exempt. If you believe that the law does not authorize
                                       an exemption claimed, you may file an objection.


8.Presumption of Abuse                 If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11
                                       U.S.C. § 707(b). Debtors may rebut the presumption by showing special circumstances.
                                       The presumption of abuse does not arise.
9.Bankruptcy Clerk's Office            Address of the Bankruptcy Clerk's Office:                  Hours Open:
                                       290 Federal Plaza                                          Monday − Friday 9:00 AM − 4:30 PM
                                       Central Islip, NY 11722
  Documents in this case may be filed
  at this address. You may inspect all Clerk of the Bankruptcy Court:
  records filed in this case at this                                                              Contact Phone (631) 712−6200
                                       Robert A. Gavin, Jr.
  office or online at www.pacer.gov.                                                              Date: 3/16/18
                                                                                                                    For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                       page 1
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Debtor Cherryl M. Spencer                                                                              Case number 8−18−71717−ast
10. Legal Advice                        The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights,
                                        consult an attorney.

11. Creditors May Not Take              The filing of the case imposed an automatic stay against most collection activities. This
    Certain Actions                     means that creditors generally may not take action to collect debts from the debtors or the
                                        debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish
                                        wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
                                        Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors
                                        who violate the stay can be required to pay actual and punitive damages and attorney's fees.
                                        Under certain circumstances, the stay may be limited to 30 days or not exist at all, although
                                        debtors can ask the court to extend or impose a stay.

12. Meeting of Creditors                A meeting of creditors is scheduled for the date, time and location listed on the front side.
                                        Debtors must attend the meeting to be questioned under oath by the trustee and by creditors.
                                        In a joint case, both spouses must attend. Creditors may attend, but are not required to do
                                        so. The meeting may be continued and concluded at a later date specified in a notice filed
                                        with the court.

13. Proof of Claim                      Deadline for holder(s) of a claim secured by a security interest in the debtor(s)' principal
                                        residence (Rule 3002(c)(7)(A)):        Filing Deadline: 05/25/2018
                                        No property appears to be available to pay creditors. Therefore, other than claims secured by
                                        a security interest in the debtor(s)' principal residence, please do not file a proof of claim now.
                                        If it later appears that assets are available to pay creditors, the Clerk will send you another
                                        notice telling you that you may file a proof of claim and stating the deadline.
                                        Do not include this notice with any filing you make with the court.

14. Discharge of Debts                  The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to
                                        a discharge of any debts or who want to have a particular debt excepted from discharge may
                                        be required to file a complaint in the Bankruptcy Clerk's Office within the deadlines specified
                                        in this notice. (See line 7 for more information.)

15. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                        sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                        may inspect that list at the Bankruptcy Clerk's Office or online at www.pacer.gov. If you
                                        believe that the law does not authorize an exemption that the debtors claim, you may file an
                                        objection. The Bankruptcy Clerk's Office must receive the objection by the deadline to object
                                        to exemptions in line 7.

16. Creditors with a Foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    Address                             asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                        United States bankruptcy law if you have any questions about your rights in this case.

17. Option to Receive Notices           1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register
    Served by the Clerk by              for EBN at the BNC website ebn.uscourts.gov, or
    Email Instead of by U.S.            2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice
    Mail                                Request" with the Clerk of Court. Both options are FREE and allow the Clerk to quickly
                                        send you court−issued notices and orders by email.

18. Undeliverable Notices               Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility
                                        to obtain the parties correct address, resend the returned notice, and notify this office of the
                                        parties change of address. Failure to provide all parties with a copy of the notice may
                                        adversely affect the debtor as provided by the Bankruptcy Court.

19. Form 121 Statement of               The debtor or debtor's attorney is required to bring a paper copy of the petition with full social
    Social Security #                   security number displayed to the first meeting of creditors.

20. Personal Financial                  In order to receive a discharge, the debtor must complete a Personal Financial Management
    Management Course                   Course and must file a Certification About a Financial Management Course (Official Form
                                        423) within 60 days after the first date set for the section 341 meeting. If the Certification
                                        About a Financial Management Course is not filed within the allotted time, a discharge will
                                        not be issued and the case will be closed.


Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                              page 2
